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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


                                                                                                                  f
       UNITED STATES OF AMERICA

       vs.

      DREW LIEBERMAN,

             Defendant.
      _______________   ./                                                                                   I
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                                            PLEA AGREEMENT
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              The United States of America, by and through the Fraud Section of the Criminal Division
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      of the Department of Justice and the United States Attorney,s Office for the Southern District of      I
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      Florida (hereinafter referred to as the "United States"), and Drew Lieberman (hereinafter referred     I
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      to as the ''Defendant"), enter into the following agreement:

              1.     The Defendant agrees to plead guilty to Count 1 of the Indictment (hereinafter the

      "Indictment"). Count 1 charges that the Defendant knowingly and willfully combined, conspired,
                                                                                                             Il
      confederated, and agreed with others, in violation of Title 18, United States Code, Section 1349,
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      to commit health care fraud, that is, to lmowingly and willfully execute a scheme and artifice to
                                                                                                             I
      defraud a health care benefit program affecting commerce, as defined in Title 18, United States

      Code, Section 24(b), that is private health insurance plans, and to obtain, by means of materially
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      false and fraudulent pretenses, representations, and promises, money and property owned by, and

     under the custody and control of, said health care benefit program, in connection with the delivery
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     of and payment for health care benefits, items, and services, in violation of Title 18, United States   l
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       Code, Section 1347. The Defendant acknowledges that he has read the charges against him

       contained in the Indictment and that the charges have been fully explained to him by his attorney.

       The United States agrees to dismiss Counts 3, 4, 5, and 6 of the Indictment as to the Defendant

       after sentencing.

              2.      The Defendant is aware that the sentence will be imposed by the Court. The

       Defendant understands and agrees that federal sentencing law requires the Court to impose a

       sentence that is reasonable and that the Court must consider the United States Sentencing

       Guidelines and Policy Statements (hereinafter the "Sentencing Guidelines") in determining that

       reasonable sentence. The Defendant acknowledges and understands that the Court will compute

       an advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

       determined by the Court relying in part on the results of a presentence investigation by the United

       States Probation Office ("Probation"), which investigation will commence after the guilty plea has

       been entered. The Defendant is also aware that, under certain circumstances, the Court may depaii

       :from the advisory Sentencing Guidelines range that it has computed, and may raise or lower that

       advisory sentence under the Sentencing Guidelines.         The Defendant is ftuiher aware and

       understands that while the. Court is required to consider the advisory guideline range determined

       under the Sentencing Guidelines, it is not bound to impose that sentence. Defendant understands

       that the facts that determine the offense level will be found by the Comi at the time of sentencing

       and that in making those determinations the Court may consider any reliable evidence, including

       hearsay, as well as the provisions or stipulations in this Plea Agreement. The United States and

       the Defendant agree to recommend that the Sentencing Guidelines should apply pursuant to United

       States v. Booker, that the Sentencing Guidelines provide a fair and just resolution based on the


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       facts of this case, and that no upward or downward depaiiures are appropriate other than the

       reductions for acceptance ofresponsibility. The Comi is permitted to tailor the ultimate sentence

       in light of other statutory concerns, and such sentence may be either more severe or less severe

       than the Sentencing Guidelines' advisory sentence.          Knowing these facts, the Defendant

       understands and aclmowledges that the Court has the authority to impose any sentence within and

      up to the statutory maximum authorized by law for the offenses identified in paragraph 1 and that

      the Defendant may not withdraw the plea solely as a result of the sentence imposed.

              3.     The Defendant also understands and aclmowledges that as to the offense of

      conspiracy to commit health care fraud, as charged in Count 1, the Court may impose a statutory

      maximum term ofimprisomnent ofup to ten (10) years. In addition to any period of imprisonment

      the Court may also impose a period of supervised release of up to three (3) years to commence at

      the conclusion of the period of imprisonment.          In addition to a term of imprisonment and

      supervised release, the Court may impose a fine of up to the greater of $250,000, or twice the

      pecuniary gain or loss pursuant to 18 U.S.C. § 3571(d).

             4.      The Defendant further understands and acknowledges that, in addition to any

      sentence imposed under paragraph 3 of this Agreement, a special assessment in the total amount

      of $100.00 will be imposed on the Defendant. The Defendant agrees that any special assessment

      imposed shall be paid at the time of sentencing.

             5.      The Defendant understands and acknowledges that as a result of this plea, the

      Defendant will be excluded as a provider from Medicare, Medicaid, and all federal health care

      programs. Defendant agrees to complete and execute all necessary documents provided by any

      department or agency of the federal government, including but not limited to the United States


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       Depmtment of Health and Human Services, to effectuate this exclusion within 60 days of receiving

       the documents, This exclusion will not affect Defendant's right to apply for and receive benefits

       as a beneficimy under any federal health cal'e program, including Medicare and Medicaid.

               6.     The Defendant recognizes that pleading guilty may have consequences with respect

       to the Defendant's immigration status if the Defendant is not a natural-born citizen of the United

       States. Under federal law, a broad range of crimes m·e removable offenses, including the crime to

       which the Defendant is pleading guilty. In addition, under certain circumstances, denaturalization

       may also be a consequence of pleading guilty to a crime. Removal, denaturalization, and other

       immigration consequences are the subject of a sepm·ate proceeding, however, and Defendant

       understands that no one, including the Defendant's attorney or the Court, can predict to a certainty

       the effect of the Defendant's conviction on the Defendant's immigration status. The Defendant

       nevertheless affirms that the Defendant chooses to plead guilty regardless of any immigration

       consequences that the Defendant's plea may entail, even if the consequence is the Defendant's

       denaturalization and automatic removal from the United States.

              7.      The Defendant shall cooperate with law enforcement officials, attorneys with the

       ·United States Depmtment of Justice and United States Attorney's Office for the Southern District

       of Florida, and with federal regulatory officials charged with regulating or overseeing the Medicare

       program by providing full, complete, and truthful information regarding his knowledge, conduct,

       and actions while involved in health care and by providing active cooperation in ongoing

       investigations if requested to do so. If called upon to do so, the Defendant shall provide complete

       and truthful testimony before any grand jury or trial ju1y in any criminal case, in any civil

       proceeding or trial, and in any administrative proceeding or hearing. In carrying out his obligations


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       under this paragraph, Defendant shall neither minimize his own involvement nor fabricate,

       minimize or exaggerate the involvement of others. If the Defendant intentionally provides any

       incomplete or untruthful statements or testimony, his actions shall be deemed a material breach of

       this Agreement and the United States shall be free to pursue all appropriate charges against him

       notwithstanding any agreements to forbear from bringing additional charges as may be otherwise

       set forth in this Agreement.

              8.      The Defendant shall provide the Probation Office and counsel for the United States

      with a full, complete, and accurate personal financial statement.       If the Defendant provides

      incomplete or untruthful statements in his personal financial statement, this action shall be deemed

      a material breach of this Agreement and the United States shall be free to pursue all appropriate

      charges against him notwithstanding any agreements to forbear from bringing additional charges

      otherwise set forth in this Agreement.

              9.     Provided that the Defendant commits no new criminal offenses and provided that

      he continues to demonstrate an affirmative recognition and affirmative acceptance of personal

      responsibility for his criminal conduct, the United States agrees that it will recommend at

      sentencing that the Defendant receive a three-level reduction for acceptance of responsibility

      pursuant to Section 3El.l of the Sentencing Guidelines, based upon the Defendant's recognition

      and affirmative and timely acceptance of personal responsibility. The United States, however, will

      not be required to make this sentencing recommendation if the Defendant: (1) fails or refuses to

      make a full, accurate, and complete disclosure to the United States and Probation of the

      circumstances surrounding the relevant offense conduct and his present financial condition; (2) is

      found to have misrepresented facts to the United States prior to entering this Plea Agreement; or


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       (3) c01mnits any misconduct after entering into this Plea Agreement, including but not limited to

       committing a state or federal offense, violating any term of release, or making false statements or

       misrepresentations to any governmental entity or official.

              10,     The United States reserves the right to inform the Comt and Probation of all facts

       pe1tinent to the sentencing process, including all relevant information concerning the offenses

       committed, whether charged or not, as well as concerning the Defendant and the Defendant's

       background. Subject only to the express terms of any agreed-upon sentencing recommendations

       contained in this Plea Agreement, the United States further reserves the right to make any

       recommendation as to the quality and quantity of punishment.

              11.     The United States reserves the right to evaluate the nature and extent of the

       Defendant's cooperation mid to make the Defendant's cooperation, or lack thereof, lmown to the

       Court at the time of sentencing, If in the sole and unreviewable judgment of the United States the

       Defendant's cooperation is of such quality and significance to the investigation or prosecution of

       other criminal matters as to warrant the Court's downward departure from the sentence advised by

       the Sentencing Guidelines, the United States may at m before sentencing make a motion pursuant

       to Title 18, United States Code, Section 3553(e), Section 5K1.1 of the Sentencing Guidelines, or

       subsequent to sentencing by motion pursuant to Rule 35 of the Federal Rules of Criminal

       Procedure, reflecting that the Defendant has provided substantial assistance and recommending a

       sentence reduction. The Defendmit acknowledges and agrees, however, that nothing in this

       Agreement may be construed to require the United States to file such a motion and that the United

       States' assessment of the nature, value, truthfulness, completeness, and accuracy of the

       Defendant's cooperation shall be binding on the Defendant.


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               12.     The Defendant understands and ack11owledges that the Court is under no obligation

       to grant a motion by the United States pursuant to Title 18, United States Code, Section 3553(e),

       5Kl. 1 of the Sentencing Guidelines or Rule 35 of the Federal Rules of Criminal Procedure, as

       refened to in paragraph 11 of this Agreement, should the United States exercise its discretion to

       file such a motion.

              13.     The Defendant admits and aclmowledges that the following facts are true and that

      the United States could prove them at trial beyond a reasonable doubt:

              (a)     That the Defendant lmowingly and willfully participated in the conspiracy to

                      commit health care fraud, as charged in Count 1 of the Indictment; and

              (b)     That the Defendant's participation in the conspiracy to commit health care fraud

                      resulted in an actual or intended loss to private insurers of more than $25,000,000

                      and less than $65,000,000,

              14.     Based on the foregoing, the United States and the Defendant agree that, although

      not binding on Probation or the Court, they will jointly recommend that, other than the basis for

      variance discussed below, the Court impose a sentence at the low end of the advisory sentencing

      guideline range produced by application of the Sentencing Guidelines. The Defendant agrees that

      he will neither move for a downward departi.u-e, nor will he seek a variance from, the applicable

      Sentencing Guidelines range pursuant to the factors set forth in Title 18, United States Code,

      Section 35 53 (a), except with respect to the Defendant's personal history or personal characteristics

      that are unrelated to the charged conduct. The Defendant further agrees that he will not suggest

     that the United States Probation Office consider a downward departure or adjustment or suggest

     that the Comi sua sponte consider a downward departi.rre, except with respect to personal history


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       ox personal characteristics unrelated to the charged conduct.

              15.     The United States and the Defendant agree that, although not binding on Probation

       or the Comt, they will jointly recommend that the Court make the following findings and

       conclusions as to the sentence to be imposed:

              (a)     Base Offense Level: That the Defendant's base offense level is six (6), in

                      accordance with U.S.S.G. § 2Bl.l(a)(2); and

              (b)     Loss: That the Defendant's offense level shall be increased by twenty~two (22)

                      levels pursuant to U.S.S.G. § 2B1.l(b)(l)(J) because the loss atnolmtwas more than

                      $25,000,000 but less than $65,000,000; and

              (c)     More than 10 Victims: That the Defendant's offense level shall be increased by

                     two (2) levels pursuant ·to U.S.S,G. § 2Bl.2(b)(2)(A)(l) because the offense

                      involved 10 or more victims; and

              (d)     Vulnerable Victims: That the Defendant's offense level shall be increased by two

                      (2) levels pursuant to U.S.S.G. § 3Al.l(b)(l) because the Defendant knew or

                      should have known that a victim of the offense was a vulnerable victim; and

              (e)     Abuse of Position of Trust or Use of Special Skill: That the Defendant's offense

                      level shall be increased by two (2) levels pursuant to U.S.S.G, § 3B 1.3 because the

                      Defendant used a special sldll in a manner that significantly facilitated the

                      commission or concealment of the offense; and

              TOTAL OFFENSE LEVEL - UNADJUSTED

              (f)     Acceptance of Responsibility:         That the Defendant's offense level shall be

                      decreased by three (3) levels pmsuant to U.S.S.G. §§ 3El.l(a) and 3El.l(b)


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                      because the Defendant has demonstrated acceptance of responsibility for his

                      offense and assisted authorities in the investigation of and prosecution of his own

                      misconduct by timely notifying authorities of his intention to enter a plea of guilty.

              TOTAL OFFENSE LEVEL-ADWSTED                                                    11
                      The parties agree that the Government will recommend a sentence at the low end

                      of the Defendant's applicable Guidelines range.

              16.     The Defendant acknowledges and understands that additional or different

      enhancements or provisions of the Sentencing Guidelines might be applicable, and that neither the

      Court nor Probation are bound by the parties' joint recommendations.

              17.     The Defendant lmowingly agrees to immediately and voluntarily forfeit to the

      United States of America, pursuant to Title 18, United States Code, Section 982(a)(7), all property,

      real or personal, that constitutes or is derived, directly or indirectly, from gross proceeds traceable

      to the offense to which Defendant is pleading guilty. The Defendant agrees that $390,000.00 is

      the total value of the gross proceeds traceable to his health care fraud conspiracy.

              18.    The Defendant agrees to the entry of a forfeiture money judgment in the amount of

      $390,000,00 ("Forfeiture Money Judgment"). The Defendant lmowingly and voluntarily agrees

      that he shall not, in any manner, act in opposition to the United States seeking entry of, and

      satisfying, the Forfeiture Money Judgment. The Defendant also agrees to assist this Office in all

      proceedings, administrative or judicial, in satisfying the Forfeiture Money Judgment. The

      assistance shall include: identification of property available to satisfy the Forfeiture Money

      Judgment, and the transfer of such property to the United States by delivery to this Office upon

     this Office's request, any necessary and appropriate documentation, including consents to


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       forfeiture and quit claim deeds, to deliver good and marketable title to such property, as well as

       truthful and complete testimony in any forfeiture civil or ancillary proceeding as against third

       parties who may claim an interest in such assets. Defendant agrees that the United States may

       seek substitute assets within the meaning of21 U.S.C. § 853.

               19.      The Defendant knowingly and voluntarily waives any right he may have to an

       appeal of the Forfeiture Money Judgment, agrees to waive any claim or constitutional, legal or

       equitable defense the Defendant may have with respect to such order, including any claim of

       excessive     fine     or    penalty   under   the   Eighth   Amendment      to   the   United   States

       Constitution. Additionally, the Defendant waives the statute of limitations, and any notice

       requirements, with respect to forfeitures resulting from this case.

              20.      In furtherance of the collection of the Forfeiture Money Judgment and restitution

       judgment, the Defendant agrees to the following:

                        (a)        The Defendant agrees to malce full and accurate disclosure of his financial

       affairs to the United States Department of Justice, the United States Attorney's Office and the

       United States Probation Office. Specifically, the Defendant agrees that within 10 calendar days

       of the signing of this Plea Agreement, the Defendant shall submit a completed Financial Disclosure

       Statement (form provided by the United States), and shall fully disclose and identify all assets in

       which he has any interest and/or over which the Defendant exercises control, directly or indirectly,

       including those held by a spouse, nominee, or other third party, whether located within or outside

       of the United States.         The Defendant agrees to provide, in a timely manner, all financial

       information requested by the United States Attorney's Office and U.S. Probation Office, and upon

       request, to meet in person to identify assets/monies which can be used to satisfy the Forfeiture


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       Money Judgment and/or the restitution judgment. In addition, the Defendant expressly authorizes

       the United States Attorney's Office to obtain a credit report.

                      (b)     The Defendant agrees that he will not sell, hide, waste, encumber, destroy,

       or otherwise devalue any asset without prior approval of the government, until the Forfeiture

       Money Judgment and his restitution judgment are paid in full. The Defendant shall also identify

       any transfer of assets valued in excess of $5,000 since the date of the Indictment filed or when he

       became aware of the criminal investigation, including the identity of the asset, the value of the

      asset, the identity of the third party to whom the asset was transfer.red, and the current location of

      the asset.

                      (c)    The Defendant agrees to cooperate fully in the investigation and the

      identification of assets to be applied toward forfeiture and restitution. The Defendant agrees that

      providing false or incomplete information about his financial assets, or hiding, selling, transferring

      or devaluing assets and/or failing to cooperate fully in the investigation and identification of assets

      may be used as a basis for: (i) separate prosecution, including, under 18 U.S.C. § 1001; or (ii)

      recommendation of a denial of a reduction for acceptance of responsibility pursuant to Sentencing

      Guidelines § 3El. 1.

                     (d)     The Defendant further agrees to liquidate assets, or complete any other tasks

      which will result in immediate payment of the Forfeiture Money Judgment and the restitution

      judgment in full, or full payment in the shortest amount of time, as requested by the government.

                     (e)     The Defendant shall notify, within 30 days, the Clerk of the Court and the

      United States Attorney's Office of: (i) any change of name, residence, or mailing address, and (ii)

      any material change in economic circumstances that affects the ability to pay the Forfeiture.


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              21.     The Defendant acknowledges that because the offenses of conviction occurred after      ~-
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       April 24, 1996, restitution is mandatory without regard to the Defendant's ability to pay and that
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       the Court must order the Defendant to pay restitution for the full loss caused by his criminal        ~
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       conduct pw:suant to 18 U.S.C. § 3663A. Furthe1111ore, the Defendant stipulates that he owes

       restitution in the amount of $18,515,385.10, jointly and severally with his co-conspirators.

              22.     The Defendant is aware that the sentence has not yet been detennined by the Comt.

       The Defendant is also aware that any estimate of the probable sentencing range or sentence that

       the Defendant may receive, whether that estimate comes from the Defendant's attorney, the United

       States, or Probation, is a prediction, not a promise, and is not binding on the United States,

       Probation or the Court. The Defendant understands further that any recommendation that the

       United States makes to the Court as to sentencing, whether pw:suant to this Agreement or

       otherwise, is not binding on the Court and the Comi may disregard the recommendation in its

       entirety. The Defendant understands and aclmowledges, as previously aclmowledgedinparagraph

       2 above, that the Defendant may not withdraw his plea based upon the Comi's decision not to

       accept a sentencing recommendation made by the Defendant, the United States, or a

       recommendation made jointly by both the Defendant and the United States.

              23.     The Defendant is aware that Title 18, United States Code, Section 3742 affords him

       the right to appeal the sentence imposed in this case. Acknowledging this, in exchange for the

       undertakings made by the United States in this Plea Agreement, the Defendant hereby waives all

       rights conferred by Section 3742 to appeal any sentence imposed, including any forfeiture or

       restitution ordered, or to appeal the manner in which the sentence was imposed, unless the sentence

       exceeds the maximum permitted by statute or is the result of an upward departure and/or a variance


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       from the Sentencing Guidelines range that the Court establishes at sentencing. In addition to the

       foregoing provisions, the defendant hereby waives all rights to argue on appeal that the statute to

       which the defendant is pleading guilty is unconstitutional and that the admitted conduct does not

       fall within the scope of the statute. The Defendant further understands that nothing in this

       Agreement shall affect the right of the United States and/or its duty to appeal as set forth in Title

       18, United States Code, Section 3742(b). However, if the United States appeals the Defendant's

       sentence pursuant to Section 3742(b), the Defendant shall be released from the above waiver of

       appellate rights. By signing this Agreement, the Defendant aclmowledges that he has discussed

      the appeal waiver set forth in this Agreement with his attomey. The Defendant further agrees,

      together with the United States, to request that the Court enter a specific finding that the

      Defendant's waiver of his right to appeal the sentence to be imposed in this case was knowing and

      voluntary.

              24.     For purposes of criminal prosecution, this Plea Agreement shall be binding and

      enforceable upon the Fraud Section of the Criminal Division of the United States Department of

      Justice and the United States Attomey's Office for the Southem District of Florida. The United

      States does not release Defendant from any claims under Title 26, United States Code. Further,

      this Agreement in no way limits, binds, or otherwise affects the rights, powers or duties of any

      state or local law enforcement agency or any administrative or regulatory authority.

              25.    Defendant agrees that if he fails to comply with any of the provisions of this

      Agreement, including the failure to tender such Agreement to the Comi, makes false or misleading

      statements before the Comi or to any agents of the United States, commits any further crimes, or

      attempts to withdraw the plea (prior to or after pleading guilty to the charges identified in paragraph


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       one (1) above), the Government will have the right to characterize such conduct as a breach of this

       Agreement. In the event of such a breach: (a) the Government will be free from its obligations

       under the Agreement and further may talce whatever position it believes appropriate as to the

       sentence and the conditions of the Defendant's release (for example, should the Defendant commit

       any conduct after the date of this Agreement that would form the basis for an increase in the

       Defendant's offense level or justify an upward departure - examples of which include but are not

       limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while

       pending sentencing, and false statements to law enforcement agents, the Probation Officer, or

       Cami - the Government is free under this Agreement to seek an increase in the offense level based

       on that post-Agreement conduct); (b) the Defendant will not have the right to withdraw the guilty

       plea; (c) the Defendant shall be fully subject to criminal prosecution for any other crimes which

       he has committed or might commit, if any, including perjury and obstruction of justice; and (d) the

       Defendant waives any protections afforded by Section 1Bl.8(a) of the Sentencing Guidelines, Rule

       11 of the Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of Evidence, and

       the Government will be free to use against the Defendant, directly and indirectly, in any criminal

       or civil proceeding any of the information, statements, and materials provided by him pursuant to

       this Agreement, including offering into evidence or otherwise using the attached Agreed Factual

       Basis for Guilty Plea.




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               26.      This is the entire Agreement and understanding between the United States and the

       Defendant. There are no other agreements, promises, representations or understandings.

                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY
                                                 SOUTHERN DISTRJCT OF FLORIDA

                                                 JOSEPHS. BEEMSTERBOER
                                                 ACTING CHIEF
                                                 FRAUD SECTION, CRIMINAL DIVISION
                                                 U.S. DEPARTMENT OF WSTICE


       Date: / /     3o / 2-6 7,, z_         By:rU~
                                                   AMESv.  HAYES
                                                  SENIOR LITIGATION COUNSEL ,
                                                  JAMIE DE BOER
                                                  TRIAL ATTORNEY
                                                  FRAUD SECTION,
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